Case 2:25-cv-04606-MWC-JC         Document 13        Filed 06/04/25       Page 1 of 2 Page ID
                                        #:149
                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                                  CASE NUMBER:

DBEST PRODUCTS, INC.
                                                     2:25−cv−04606−AB−JC
                                   PLAINTIFF(S)

      v.
ZHEJIANG XINMAO PLASTIE INDUSTRY
COMPANY, LTD.
                                                      NOTICE TO FILER OF DEFICIENCIES IN
                                                      REQUEST FOR ISSUANCE OF SUMMONS
                                 DEFENDANT(S).




PLEASE TAKE NOTICE:
The following problem(s) have been found with your electronically filed document:
  5/29/2025               10               Request for Summons
Date Filed           Doc. No.     Title of Doc.
ERROR(S) WITH DOCUMENT:

The caption of the summons must match the caption of the complaint verbatim. If the caption
is too large to fit in the space provided, enter the name of the first party and then write “see
attached.” Next, attach a face page of the complaint or a second page addendum to the
Summons.




Other Error(s):
The summons cannot be issued until this defect has been corrected. Please correct the defect
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                                                  Clerk, U.S. District Court

Date: June 4, 2025                                By: /s/ Grace Kami grace_kami@cacd.uscourts.gov
                                                     Deputy Clerk




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CasePlease
     2:25-cv-04606-MWC-JC                   Document 13 Filed 06/04/25 Page 2 of 2 Page ID
           refer to the Court's website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.
                                                     #:150




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